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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                                            ENTERED
                                                                                                              07/06/2021
                                                             )
In re:                                                       )
                                                             ) Chapter 11
NEIMAN MARCUS GROUP LTD LLC, et al., 1                       )
                                                             ) Case No. 20-32519 (DRJ)
                 Reorganized Debtors.                        )
                                                             ) (Jointly Administered)
                                                             )

                 ORDER SUSTAINING LIQUIDATING TRUSTEE’S
          EIGHTH OMNIBUS OBJECTION TO CLAIMS (RESOLVED CLAIMS)

                                         [Related Docket No. 2415]

         Upon the Objection2 of the Liquidating Trustee seeking entry of an order (the “Order”)

disallowing and expunging the claims identified on Schedule 1 attached hereto, it is HEREBY

ORDERED THAT:

         1.      The Objection is sustained as set forth herein.

         2.      Each claim identified on Schedule 1 to this Order is disallowed in its entirety as

identified on Schedule 1 to this Order.

         3.      The hearing on the Objection as it relates to the claims identified on Schedule 2 is

hereby adjourned to a later date to be determined.3

1
    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc.
    (5530); Bergdorf Graphics, Inc. (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015);
    Mariposa Intermediate Holdings LLC (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding
    Corporation (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial
    Services, Inc. (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC
    (9269); NMG Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC
    (5236); NMG Salons LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC (0318);
    NMGP, LLC (1558); The Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074); and Worth
    Avenue Leasing Company (5996). The Reorganized Debtors’ service address is: One Marcus Square, 1618
    Main Street, Dallas, Texas 75201.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Liquidating
    Trustee’s Eighth Omnibus Objection to Claims (Resolved Claims).


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         4.      Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”) is authorized and

directed to update the claims register maintained in these chapter 11 cases to reflect the relief

granted in this Order.

         5.      Each claim and the objections by the Liquidating Trustee to each claim identified

in Schedule 1 constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014.

This Order will be deemed a separate order with respect to each claim identified on Schedule 1.

         6.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity or such Debtor entity’s estate; (b) a waiver of any

party’s right to dispute any prepetition claim on any grounds; (c) a promise or requirement to pay

any prepetition claim; (d) an implication or admission that any particular claim is of a type

specified or defined in this Objection or any order granting the relief requested by this Objection;

(e) a request or authorization to assume any prepetition agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; or (f) a waiver of the Liquidating Trustee’s rights under the

Bankruptcy Code or any other applicable law.

         7.      The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.



                              [Remainder of Page Intentionally Left Blank]




3
    For the avoidance of doubt, the claims set forth on Schedule 3 were withdrawn by separate notices dated April
    27, 2021 and May 18, 2021, respectively. See Notice of Withdrawal of Liquidating Trustee’s Eighth Omnibus
    Objection to Claims (Resolved Claims) Solely as it Relates to Claim Number 1766 [ECF No. 2424]; Notice of
    Withdrawal of Liquidating Trustee’s Eighth Omnibus Objection to Claims (Resolved Claims) Solely as it Relates
    to Claim Number 1754 [ECF No. 2477].


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        8.      The Liquidating Trustee, Stretto, and the Clerk of the Court are authorized to take

all actions necessary to effectuate the relief granted pursuant to this Order in accordance with the

Objection.

        9.      This Court shall retain exclusive jurisdiction to resolve any dispute arising from

or related to this Order.

Houston,                                  Texas
Date:
   Signed: July 01, 2021.              , 2021

                                                    THE HONORABLE DAVID R. JONES
                                                  ____________________________________
                                                    CHIEF
                                                  DAVID R. UNITED
                                                           JONES STATES BANKRUPTCY
                                                    JUDGE
                                                  UNITED STATES BANKRUPTCY JUDGE




                                                  -3-
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                          Schedule 1

                   Sustained Claim Objections
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                                                                   Schedule 1
Ref     Name of                                                                                                                    Reasoning for
                       Debtor Name      Claim #   Date Filed            Claim Amounts                        Allowed Claim
 #      Claimant                                                                                                                    Objection1
                                                               Administrative: $0.00               Administrative: $0.00
      LEGACY PLAN                                              Secured: $0.00                      Secured: $0.00                Expunge general
      OF THE           The Neiman                              Priority: $0.00                     Priority: $0.00               unsecured claim
 1    NATIONAL         Marcus Group    2315       07/16/2020   General Unsecured: $25,221,692.00   General Unsecured: $0.00      amount as general
      RETIREMENT       LLC                                                                                                       unsecured claim has
      FUND                                                     Total: $25,221,692.00               Total: $0.00                  been resolved.

                                                               Administrative: $0.00               Administrative: $0.00
      LEGACY PLAN                                              Secured: $0.00                      Secured: $0.00                Expunge general
      OF THE                                                   Priority: $0.00                     Priority: $0.00               unsecured claim
 2    NATIONAL         NMGP, LLC       2316       07/16/2020   General Unsecured: $25,221,692.00   General Unsecured: $0.00      amount as general
      RETIREMENT                                                                                                                 unsecured claim has
      FUND                                                     Total: $25,221,692.00               Total: $0.00                  been resolved.

                                                               Administrative: $93,671.69          Administrative: $93,671.69
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
      SMURFIT KAPPA The Neiman                                 Priority: $0.00                     Priority: $0.00               unsecured claim
 3    NORTH AMERICA Marcus Group       3296       10/26/2020   General Unsecured: $244,395.81      General Unsecured: $0.00      amount as general
      LLC           LLC                                                                                                          unsecured claim has
                                                               Total: $338,067.50                  Total: $93,671.69             been resolved.

                                                               Administrative: $0.00               Administrative: $0.00
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
      SOLOW
                       The Neiman                              Priority: $0.00                     Priority: $0.00               unsecured claim
      BUILDING
 4                     Marcus Group    2406       7/20/2020    General Unsecured: $19,307.08       General Unsecured: $0.00      amount as general
      COMPANY III,
                       LLC                                                                                                       unsecured claim has
      L.L.C.
                                                               Total: $19,307.08                   Total: $0.00                  been resolved.

                                                               Administrative: $0.00               Administrative: $0.00
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
                                                               Priority: $0.00                     Priority: $0.00               unsecured claim
      SOURCELINK     Neiman Marcus
 5                                     1149       6/9/2020     General Unsecured: $68,573.62       General Unsecured: $0.00      amount as general
      ACQUISITON LLC Group LTD LLC
                                                                                                                                 unsecured claim has
                                                               Total: $68,573.62                   Total: $0.00                  been resolved.

                                                               Administrative: $213,322.33         Administrative: $213,322.33
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
      SPG CENTER,                                              Priority: $0.00                     Priority: $0.00               unsecured claim
                       Neiman Marcus
 6    LLC STANFORD                     1633       7/14/2020    General Unsecured: $342,549.64      General Unsecured: $0.00      amount as general
                       Group LTD LLC
      SC                                                                                                                         unsecured claim has
                                                               Total: $555,871.97                  Total: $213,322.33            been resolved.

                                                               Administrative: $0.00               Administrative: $0.00
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
                       The Neiman                              Priority: $0.00                     Priority: $0.00               unsecured claim
 7    STYLYZE INC      Marcus Group    1026       6/1/2020     General Unsecured: $11,065.00       General Unsecured: $0.00      amount as general
                       LLC                                                                                                       unsecured claim has
                                                               Total: $11,065.00                   Total: $0.00                  been resolved.

                                                               Administrative: $0.00               Administrative: $0.00
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
      SUNBEAM          The Neiman                              Priority: $0.00                     Priority: $0.00               unsecured claim
 8    DEVELOPMENT      Marcus Group    1908       7/20/2020    General Unsecured: $52,016.33       General Unsecured: $0.00      amount as general
      CORPORATION      LLC                                                                                                       unsecured claim has
                                                               Total: $52,016.33                   Total: $0.00                  been resolved.

                                                               Administrative: $60,182.28          Administrative: $60,182.28
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
                                                               Priority: $0.00                     Priority: $0.00               unsecured claim
      SUNRISE MILLS    Neiman Marcus
 9                                     1768       7/16/2020    General Unsecured: $100.00          General Unsecured: $0.00      amount as general
      (MLP), LP        Group LTD LLC
                                                                                                                                 unsecured claim has
                                                               Total: $60,282.28                   Total: $60,182.28             been resolved.

                                                               Administrative: $3,191.99           Administrative: $3,191.99
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
      SYSCO            The Neiman                              Priority: $0.00                     Priority: $0.00               unsecured claim
10    CORPORATION      Marcus Group    1465       7/2/2020     General Unsecured: $390,360.10      General Unsecured: $0.00      amount as general
      AND AFFILIATES   LLC                                                                                                       unsecured claim has
                                                               Total: $393,552.09                  Total: $3,191.99              been resolved.

                                                               Administrative: $9,801.01           Administrative: $9,801.01
      TAYLOR                                                   Secured: $0.00                      Secured: $0.00                Expunge general
      COMMUNICATIO                                             Priority: $0.00                     Priority: $0.00               unsecured claim
                    Neiman Marcus
11    NS, INC. (FKA                    2014       7/17/2020    General Unsecured: $31,639.90       General Unsecured: $0.00      amount as general
                    Group LTD LLC
      STANDARD                                                                                                                   unsecured claim has
      REGISTER)                                                Total: $41,440.91                   Total: $9,801.01              been resolved.




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                                                                   Schedule 1
Ref     Name of                                                                                                               Reasoning for
                       Debtor Name      Claim #   Date Filed            Claim Amounts                     Allowed Claim
 #      Claimant                                                                                                               Objection1
                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      THE KALENCOM     Neiman Marcus
12                                     891        5/26/2020    General Unsecured: $6,918.98     General Unsecured: $0.00    amount as general
      CORPORATION      Group LTD LLC
                                                                                                                            unsecured claim has
                                                               Total: $6,918.98                 Total: $0.00                been resolved.

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      THE RETAIL                                               Priority: $65,502.12             Priority: $65,502.12        unsecured claim
                       Neiman Marcus
13    PROPERTY                         1643       7/14/2020    General Unsecured: $325,288.86   General Unsecured: $0.00    amount as general
                       Group LTD LLC
      TRUST                                                                                                                 unsecured claim has
                                                               Total: $390,790.98               Total: $65,502.12           been resolved.

                                                               Administrative: $7,422.76        Administrative: $7,422.76
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                       The Neiman                              Priority: $0.00                  Priority: $0.00             unsecured claim
      TRANSOLUTION
14                     Marcus Group    1991       7/20/2020    General Unsecured: $14,610.28    General Unsecured: $0.00    amount as general
      S, LLC
                       LLC                                                                                                  unsecured claim has
                                                               Total: $22,033.04                Total: $7,422.76            been resolved.

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      TRANSPERFECT
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      REMOTE        Neiman Marcus
15                                     2098       7/21/2020    General Unsecured: $4,863.60     General Unsecured: $0.00    amount as general
      INTERPRETING, Group LTD LLC
                                                                                                                            unsecured claim has
      INC.
                                                               Total: $4,863.60                 Total: $0.00                been resolved.


                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      TRANSPERFECT
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      REMOTE        Neiman Marcus
16                                     2097       7/21/2020    General Unsecured: $2,754.90     General Unsecured: $0.00    amount as general
      INTERPRETING, Group LTD LLC
                                                                                                                            unsecured claim has
      INC.
                                                               Total: $2,754.90                 Total: $0.00                been resolved.


                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      TRANSPERFECT
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      REMOTE        Neiman Marcus
17                                     2539       7/27/2020    General Unsecured: $365.40       General Unsecured: $0.00    amount as general
      INTERPRETING, Group LTD LLC
                                                                                                                            unsecured claim has
      INC.
                                                               Total: $365.40                   Total: $0.00                been resolved.

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                       The Neiman                              Priority: $0.00                  Priority: $0.00             unsecured claim
      TRAVEL AND
18                     Marcus Group    1541       7/8/2020     General Unsecured: $314,010.64   General Unsecured: $0.00    amount as general
      TRANSPORT
                       LLC                                                                                                  unsecured claim has
                                                               Total: $314,010.64               Total: $0.00                been resolved.

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      UBERTEJAS LLC,                                           Priority: $0.00                  Priority: $0.00             unsecured claim
                     Neiman Marcus
19    DBA BIZCLOUD                     871        5/26/2020    General Unsecured: $71,400.00    General Unsecured: $0.00    amount as general
                     Group LTD LLC
      EXPERTS                                                                                                               unsecured claim has
                                                               Total: $71,400.00                Total: $0.00                been resolved.


                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                      The Neiman                               Priority: $0.00                  Priority: $0.00             unsecured claim
      URBAN AIRSHIP,
20                    Marcus Group     946        5/27/2020    General Unsecured: $44,471.40    General Unsecured: $0.00    amount as general
      INC DBA AIRSHIP
                      LLC                                                                                                   unsecured claim has
                                                               Total: $44,471.40                Total: $0.00                been resolved.

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      VECTOR           Neiman Marcus
21                                     1483       7/6/2020     General Unsecured: $6,392.19     General Unsecured: $0.00    amount as general
      SECURITY, INC.   Group LTD LLC
                                                                                                                            unsecured claim has
                                                               Total: $6,392.19                 Total: $0.00                been resolved.

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      VERINT           Neiman Marcus
22                                     2423       7/22/2020    General Unsecured: $60,485.71    General Unsecured: $0.00    amount as general
      SYSTEMS INC.     Group LTD LLC
                                                                                                                            unsecured claim has
                                                               Total: $60,485.71                Total: $0.00                been resolved.




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                                                                 Schedule 1
Ref     Name of                                                                                                              Reasoning for
                     Debtor Name      Claim #   Date Filed            Claim Amounts                     Allowed Claim
 #      Claimant                                                                                                              Objection1
                                                             Administrative: $0.00            Administrative: $0.00
                                                             Secured: $0.00                   Secured: $0.00               Expunge general
                     The Neiman                              Priority: $0.00                  Priority: $0.00              unsecured claim
      VIPAC
23                   Marcus Group    1478       7/2/2020     General Unsecured: $26,342.80    General Unsecured: $0.00     amount as general
      PACKAGING
                     LLC                                                                                                   unsecured claim has
                                                             Total: $26,342.80                Total: $0.00                 been resolved.

                                                             Administrative: $12,472.17       Administrative: $12,472.17
                                                             Secured: $0.00                   Secured: $0.00               Expunge general
                                                             Priority: $0.00                  Priority: $0.00              unsecured claim
      WESTCHESTER    Neiman Marcus
24                                   1631       7/14/2020    General Unsecured: $10,482.45    General Unsecured: $0.00     amount as general
      MALL, LLC      Group LTD LLC
                                                                                                                           unsecured claim has
                                                             Total: $22,954.62                Total: $12,472.17            been resolved.


                                                             Administrative: $0.00            Administrative: $0.00
                                                             Secured: $0.00                   Secured: $0.00               Expunge general
                                                             Priority: $0.00                  Priority: $0.00              unsecured claim
      WS PACKAGING   Neiman Marcus
25                                   2563       7/29/2020    General Unsecured: $3,727.08     General Unsecured: $0.00     amount as general
      GROUP INC      Group LTD LLC
                                                                                                                           unsecured claim has
                                                             Total: $3,727.08                 Total: $0.00                 been resolved.

                                                             Administrative: $0.00            Administrative: $0.00
                                                             Secured: $0.00                   Secured: $0.00               Expunge general
                                                             Priority: $0.00                  Priority: $0.00              unsecured claim
                     Neiman Marcus
26    ZYSTON LLC                     1040       6/2/2020     General Unsecured: $129,000.00   General Unsecured: $0.00     amount as general
                     Group LTD LLC
                                                                                                                           unsecured claim has
                                                             Total: $129,000.00               Total: $0.00                 been resolved.




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                          Schedule 2

                  Adjourned Claim Objections
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                                                                Schedule 2

Ref     Name of                                                                                                          Reasoning for
                    Debtor Name      Claim #   Date Filed            Claim Amounts                    Allowed Claim
 #      Claimant                                                                                                          Objection1
                                                            Administrative: $0.00           Administrative: $0.00
                                                            Secured: $0.00                  Secured: $0.00             Expunge general
                                                            Priority: $0.00                 Priority: $0.00            unsecured claim
      VERTIV        Neiman Marcus
 1                                  1756       7/17/2020    General Unsecured: $53,691.39   General Unsecured: $0.00   amount as general
      CORPORATION   Group LTD LLC
                                                                                                                       unsecured claim has
                                                            Total: $53,691.39               Total: $0.00               been resolved.




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                           Schedule 3

                   Withdrawn Claim Objections
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                                                                   Schedule 3

Ref     Name of                                                                                                               Reasoning for
                       Debtor Name      Claim #   Date Filed            Claim Amounts                     Allowed Claim
 #      Claimant                                                                                                               Objection1
                                                               Administrative: $2,771.72        Administrative: $2,771.72
                                                                                                                            Expunge general
                                                               Secured: $0.00                   Secured: $0.00
      TAUBMAN                                                                                                               unsecured amounts as
                                                               Priority: $0.00                  Priority: $0.00
      CHERRY CREEK     Neiman Marcus                                                                                        the Debtors are not
 1                                     1766       7/17/2020    General Unsecured: $279,364.66   General Unsecured: $0.00
      SHOPPING         Group LTD LLC                                                                                        liable because the
      CENTER, L.L.C.                                                                                                        claim has been
                                                               Total: $282,136.38               Total: $2,771.72
                                                                                                                            resolved

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      YUSEN           The Neiman                               Priority: $0.00                  Priority: $0.00             unsecured claim
 2    LOGISTICS       Marcus Group     1754       7/17/2020    General Unsecured: $14,356.17    General Unsecured: $0.00    amount as general
      (AMERICAS) INC. LLC                                                                                                   unsecured claim has
                                                               Total: $14,356.17                Total: $0.00                been resolved.




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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 20-32519-drj
Neiman Marcus Group LTD LLC                                                                                            Chapter 11
Mariposa Intermediate Holdings LLC
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: VrianaPor                                                            Page 1 of 9
Date Rcvd: Jul 06, 2021                                               Form ID: pdf002                                                         Total Noticed: 221
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 08, 2021:
Recip ID                   Recipient Name and Address
db                     +   BG Productions, Inc., 745 Fifth Avenue, New York, NY 10151-0099
db                     +   Bergdorf Goodman Inc., 745 Fifth Avenue, New York, NY 10151-0098
db                     +   Bergdorf Graphics, Inc., 754 Fifth Avenue, New York, NY 10019-2503
db                     +   Mariposa Borrower, Inc., One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   Mariposa Intermediate Holdings LLC, 2000 Avenue of the Stars, Los Angeles, CA 90067-4700
db                         NEMA Beverage Corporation, One Marcus Square, Dallas, TX 75201
db                     +   NEMA Beverage Holding Corporation, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NEMA Beverage Parent Corporation, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NM Bermuda, LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NM Financial Services, Inc., 3200 Las Vegas Boulevard, Las Vegas, NV 89109-2612
db                     +   NM Nevada Trust, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                         NMG California Salon LLC, One Marcus Square, 16181Main Street, Dallas, TX 75201
db                     +   NMG Florida Salon LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Global Mobility, Inc., One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Notes PropCo LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Salon Holdings, LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Salons LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Term Loan PropCo LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Texas Salon LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMGP, LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   Neiman Marcus Group LTD LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   The NMG Subsidiary LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   Worth Avenue Leasing Company, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
aty                    +   Adam L Rosen, Adam L. Rosen PLLC, 2-8 Haven Ave Stel 220, Port Washington, NY 11050-3614
aty                    +   Benjamin M Rattner, Cermele & Wood LLP, 2 Westchester Park Drive, White Plains, NY 10604-3498
aty                    +   Blake Horwitz, 111 W Washington St, Ste 1611, Chicago, IL 60602-3439
aty                    +   Caitlin A Halpern, Gibbs Bruns LLP, 1100 Louisiana, Ste 5300, Houston, TX 77002-5215
aty                    +   Cliff Palefsky, McGuinn, HIllsman & Palefsky, 535 Pacific Ave, San Francisco, CA 94133-4628
aty                    +   David D Langfitt, P O Box 302, Gladwyne, PA 19035-0302
aty                    +   Eric Leon, Latham & Watkins LLP, 885 Third Avenue, New York, NY 10022-4874
aty                    +   Ernie Zachary Park, Bewley Lassleben and Miller LLP, 13215 E. Penn St, Ste 510, Whittier, CA 90602-1797
aty                    +   Eugene C Kelley, Kelley Polishan & Solfanelli, LLC, 259 S Keyser Avenue, Old Forge, PA 18518-1177
aty                        Frank V Floriani, Sulllivan Papain Black et al, 120 Broadway, New York, NY 10271-0002
aty                    +   H. Howard Browne, 100 SAS Campus Drive, Cary, NC 27513-2414
aty                    +   Jeff Grossich, Horwitz Law Firm, 111 W Washington St, Ste 1611, Chicago, IL 60602-3439
aty                    +   Jonathan M. Marshall, Choate, Hall & Stewart LLP, Two International Place, Boston, MA 02110-4120
aty                    +   Jordan D Weiss, 1350 Broadway, Suite 1420, New York, NY 10018-7714
aty                    +   Judy D. Thompson, JD Thompson Law, PO Box 33127, Charlotte, NC 28233-3127
aty                    +   Keith Ehrman, McGuinn, Hillsman & Palefsky, 535 Pacific Avenue, San Francisco, CA 94133-4628
aty                        Leonard M Weiner, Law Office of Leonard M. Weiner LLC, New York, NY 10016
aty                    +   Linda D Reece, Perdue, Brandon, Fielder, Collins & Mott, 1919 S. Shiloh Rd., Suite 310, Garland, TX 75042-8293
                 Case 20-33948 Document                           Filed in TXSB on 07/08/21 Page 13 of 20
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aty              +   Matthew J. Murray, Altshuler Berzon LLP, 177 Post Street, Suite 300, San Francisco, CA 94108-4797
aty              +   Michael Nicolella, Orrick, Herrington & Suticliffe LLP, 2121 Main St, Wheeling, WV 26003-2809
aty              +   Michael R Wood, Cermele & Wood, 2 Westchester Park Drive, White Plains, NY 10604-3498
aty              +   Olivera Medenica, Dunnington Batholow & Miller LLP, 230 Park Avenue, 21st Floor, New York, NY 10169-2403
aty              +   Robert S. Friedman, Sheppard Mullin Richter and Hampton, 30 Rockefeller Plaza, New York, NY 10112-0079
aty              +   Uchechi Egeonuigwe, Brown Rudnick LLP, 7 Times Square, New York, NY 10036-6548
cr               +   3.1 Phillip Lim, c/o VonWin Capital Management, LP, 261 Fifth Avenue, 2nd Floor, New York, NY 10016-7601
cr               +   360i, LLC, Underwood Perkins, PC, 5420 LBJ Freeway, Suite 1900, Dallas, TX 75240-6230
cr               +   64 Facets, Inc., c/o Susan C. Mathews, Baker Donelson, 1301 McKinney St., Suite 3700, Houston, TX 77010-3034
cr               +   A. Link Jewelry Co., LLC, c/o Susan C. Mathews, Baker Donelson, 1301 McKinney St., Suite 3700, Houston, TX 77010-3034
cr               +   AJD Platinum Inc. d/b/a American Jewelry Designs, c/o Foley Mansfield, 250 Marquette Ave., Suite 1200, Minneapolis, MN 55401-1874
cr              #+   ASM Capital X LLC, 7600 Jericho Turnpike, Suite 302, Woodbury, NY 11797-1705
cr                   Accertify, Inc, c/o Becket and Lee LLP, PO Box 3002, Malvern, PA 19355-0702
intp             +   Ad Hoc Group of Term Loan Lenders, 1001 Fannin St., Suite 2500, Houston, TX 77002-6710
cr                   Alanui SRL, Via Manin 13, Milano (MI), 20121, ITALY
cr               +   Alta Construction East Inc, Contrarian Funds LLC, Attn: 392426, 500 Ross St 154-0455, Pittsburgh, PA 15262-0001
cr              #+   American Electric Power, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                     75205-7326
cr               +   Ann Keenes, 38945 Palm Valley Drive, Palm Desert, CA 92211-5060
cr               +   Ann P. Stordahl, 3712 Cragmont Avenue, Dallas, TX 75205-4313
cr               +   Ariela E. Shani, 12349 Deer Mountain Boulevard, Kamas, UT 84036-9336
cr               +   BMC Software, Inc., 2101 CityWest Blvd., Houston, Tx 77042-2828
intp             +   Baker Donelson Bearman Caldwell & Berkowitz, 1301 McKinney St., Suite 3700, Houston, TX 77010-3034
cr               +   Bally Americas, Inc., c/o Lowenstein Sandler LLP, Attn: Jeffrey Prol, Esq., Attn: Bruce S. Nathan, Esq., One Lowenstein Drive Roseland,
                     NJ 07068-1740
cr               +   Barbara Boettigheimer, 24 Glenmeadow Place, Dallas, TX 75225-2081
cr               +   Bernard D. Feiwus, 3516 Twin Lakes Way, Plano, TX 75093-7555
cr               +   Beth Pine, 812 Harbour Isles Place, North Palm Beach, FL 33410-4408
cr               +   Bexar County, 112 E. Pecan St., Suite 2200, San Antonio, TX 78205-1588
cr               +   Bill L. Earnheart, 847 Chalfont Place, Coppell, TX 75019-2877
cr               +   Bill Williams, 1200 Beach Drive, #207, Gulfport, MS 39507-1407
cr               +   Billy Payton, 6338 Meadow Road, Dallas, TX 75230-5141
cr               +   CMS Payments Intelligenc, Inc., c/o Stromberg Stock, PLLC, 8350 N Central Expy, Ste 1225, Dallas, TX 75206-1600
cr               +   CRG Financial LLC, 100 Union Avenue, Cresskill, NJ 07626-2141
cr               +   Canon Financial Services, Inc., Platzer, Swergold, Levine, et al., c/o Teresa Sadutto-Carley, 475 Park Avenue, South, 18th Floor New
                     York, NY 10016-6901
cr               +   Catherine Goddard, 5816 Sky Park Drive, Plano, TX 75093-4538
cr               +   City of Grapevine, Grapevine-Colleyville ISD, Dallas Utility and Reclamation District, c/o EBONEY COBB, 500 E. Border Street, Suite
                     640, Arlington, TX 76010-7457
cr               +   City of Katy, c/o Owen M. Sonik, PBFCM, LLP, 1235 North Loop West, Suit 600, Houston, TX 77008-1772
cr               +   Colby McWilliams, 3921 Inwood Road #1012, Dallas, TX 75209-5755
cr               +   Colormark L. C., Contrarian Funds LLC, 500 Ross St. 154-455, Pittsburgh, PA 15262-0001
cr              #+   Commonwealth Edison Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                     75205-7326
cr              #+   Consolidated Edison Company of New York, Inc., c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste.
                     300, Dallas, TX 75205-7326
trnsfee          +   Contrarian Funds LLC, 411 West Putnam Ave, Suite 225, Greenwich, CT 06830-6261
cr               +   Contrarian Funds, LLC, PilyQ LLC, 411 West Putnam Avenue, Ste. 225, Greenwich, CT 06830-6261
cr               +   Contrarian Funds, LLC, Att: 392426, 500 Ross St. 154-0455, Pittsburgh, PA 15262-0001
cr                   Cynthia Marcus Bolene, 326 E. Colorado Road, Santa Fe, NM 87505
cr               +   Dallas County, Linebarger Goggan Blair & Sampson, LLP, c/o Elizabeth Weller, 2777 N. Stemmons Freeway, Suite 1000 Dallas, TX
                     75207-2328
cr               +   David Hargreaves, 29 Hidden Glen Road, Scarsdale, NY 10583-1230
cr               +   Davidson Kempner Capital Management LLC, c/o Patricia B. Tomasco, 711 Louisiana, Suite 500, Houston, TX 77002-2721
cr               +   Deborah A. McGinnis, 40 Marina Gardens Drive, Palm Beach Gardens, FL 33410-3503
cr                   Dell Marketing, L.P., c/o Streusand Landon Ozburn & Lemmon, 1801 S. MoPac Expressway, Suite 320, Austin, TX 78746
cr               +   Dena Kemp, Inc., c/o Susan C. Mathews, Baker Donelson, 1301 McKinney Street, Suite 3700, Houston, TX 77010-3034
cr              #+   ESTELLE DIEHL, c/o Small Law PC, 1350 Columbia Street, Suite 700, San Diego, CA 92101 UNITED STATES 92101-3456
cr               +   Eton Fashion, c/o VonWin Capital Management, LP, 261 Fifth Avenue, 22nd Floor, New York, NY 10016-7701
cr               +   Eton, Inc, c/o VonWin Capital Management, LP, 261 Fifth Avenue, 22nd Floor, New York, NY 10016-7701
cr               +   Fair Harbor Capital, LLC, PO Box 237037, New York, NY 10023, US 10023-0028
cr              #+   Florida Power & Light Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                     75205-7326
cr               +   Four Hands LLC, Richards Rodriguez & Skeith, 816 CONGRESS AVENUE, SUITE 1200, AUSTIN, TX 78701-2672
intp             +   Gene Baldwin, c/o Husch Blackwell, Buffey Klein, 1900 N. Pearl Street, Suite 1800, Dallas, TX 75201-2467
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Date Rcvd: Jul 06, 2021                                       Form ID: pdf002                                                      Total Noticed: 221
cr               + George E. Maas, 3412 Emerald Cove Drive, Flower Mound, TX 75022-7852
cr              #+ Georgia Power Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                   75205-7326
cr               + Greg M. Voorhis, 1110 Campbell Avenue, Wheaton, IL 60189-6506
cr               + Gregg County, Linebarger Goggan Blair & Sampson, LLP, c/o Elizabeth Weller, 2777 N. Stemmons Frwy Ste 1000, Dallas, TX
                   75207-2328
cr               + Gregory G. Shields, 16798 Malibu Drive, Flint, TX 75762-9231
cr               + Hazel Wyatt, 612 Garcia Street, Santa Fe, NM 87505-2858
cr               + Hila M. Ekelman, 3621 Turtle Creek Boulevard, #3B, Dallas, TX 75219-5548
cr               + Hilldun Corporation, c/o Lowenstein Sandler LLP, Attn: Jeffrey Prol, Esq., Attn: Bruce Nathan, Esq., One Lowenstein Drive Roseland, NJ
                   07068-1740
cr               + IProspect.com, Inc., Underwood Perkins, PC, 5420 LBJ Freeway, Suite 1900, Dallas, TX 75240-6230
cr               + ISS Facility Services, Inc., c/o Allen M. DeBard, Langley & Banack, Inc., 745 E. Mulberry Avenue, Ste. 700 San Antonio, Tx 78212-3172
cr               + Ignaz Gorischek, 9502 Bill Browne Lane, Dallas, TX 75243-6203
cr               + Iron Mountain Information Management, Inc., c/o Frank F. McGinn, Esq., Hackett Feinberg P.C., 155 Federal Street, 9th Floor, Boston,
                   MA 02110-1610
cr               + JM-BMM LLC, c/o Adam L. Rosen PLLC, 2-8 Haven Avenue, Ste 220, Port Washington, NY 11050-3636
intp             + James Scott Douglass, 1811 Bering Dr., Suite 420, Houston, TX 77057-3186
cr               + Jeanie D. Galvin, 6822 Westlake Avenue, Dallas, TX 75214-3445
cr               + Jemma Wynne Jewellery, LLC, c/o Susan C. Mathews, Baker Donelson, 1301 McKinney St., Suite 3700, Houston, TX 77010-3034
cr               + Jennifer H. Robinson, 5428 Richard Avenue, Dallas, TX 75206-6714
cr              #+ Jersey Central Power & Light Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300,
                   Dallas, TX 75205-7326
cr               + Jimmy R. Howell, 4306 Windrush Boulevard, Longview, TX 75604-0601
cr               + Jo Lynn Payton, 6338 Meadow Road, Dallas, TX 75230-5141
cr              #+ Joan M. Kaner, 1771 Ringling Boulevard, Unit 1005, Sarasota, FL 34236-6870
cr               + John Collins, 1658 Agadir St, Concord, CA 94518-3331
cr               + John Martens, 1309 Cordell Place, Los Angeles, CA 90069-1721
cr               + John R. Weiler, 235 Chenery Street, San Francisco, CA 94131-2764
cr               + Joseph E. McElroy, 834 NE 14th Place, Fort Lauderdale, FL 33304-1232
cr               + Joseph P. Feczko, 1241 Fairfield Beach Road, Fairfield, CT 06824-6516
cr                 Julia Beren-Sosnick, 1000 Abrams Street, Hollywood, FL 33019
cr               + KONE, Inc., 4225 Naperville Road, Naperville, IL 60532-3699
cr                 KPG SRL, Via Daniele Manin 13, MIlano (MI), 20121, ITALY
cr               + Katie May LLC, Contrarian Funds LLC, 500 Ross St 154-455, ATTN: 39246, Pittsburgh, PA 15262-0001
cr               + Kellermeyer Bergensons Services, LLC, 1575 Henthorne Dr., Maumee, OH 43537-1385
intp             + Kyung S. Lee, 22 Blooming Grove Lane, Houston, TX 77077-1955
cr               + L&B Depp Inwood Village, L.P., c/o Will Bassham, 3333 Lee Parkway, Eighth Floor, Dallas, TX 75219-5111
cr               + LCFRE Austin Brodie Oaks, LLC, Sprouse Law Firm, 401 Congress Avenue, Suite 1540, Austin, TX 78701-3851
cr               + Lana and Nathaniel Grey d/b/a Lomden Estate, c/o Susan C. Mathews, Baker Donelson, 1301 McKinney Street, Ste 3700, Houston, TX
                   77010-3034
cr               + Larry Neal Skinner, 3320 Starlight Trail, Plano, TX 75023-6138
cr              #+ Lawrence Elkin, 1690 Foard Drive, Frisco, TX 75034-1829
cr               + Leslie L. Freytag, 2051 Broadleaf Court, Wenatchee, WA 98801-8212
cr               + Lexon Insurance Company and Endurance Assurance Co, c/o Harris Beach PLLC, Lee E. Woodard, Esq., 333 West Washington St., Ste.
                   200, Syracuse, NY 13202-9204
cr               + Lisa Kazor, c/o Quilling, Selander, Lownds, et al, Attn: Timothy A. York, 2001 Bryan Street, Suite 1800 Dallas, TX 75201-3071
cr               + Lomden Distributors, Inc., c/o Susan C. Mathews, Baker Donelson, 1301 McKinney Street, Ste 3700, Houston, TX 77010-3034
cr               + Luz Parrado, c/o Husch Blackwell, 1900 N. Pearl Street, Suite 1800, Dallas, TX 75201-2467
cr               + Lyndy Carreiro, 1332 Sealawn Boulevard, Freeland, WA 98249-9778
cr               + Lynn C. Roberts Hoover, 3930 NW 27th Terrace, Boca Raton, FL 33434-4452
intp             + Marit Baldwin, c/o Husch Blackwell, Buffey Klein, 1900 N. Pearl Street, Suite 1800, Dallas, TX 75201-2467
cr               + Mark Boraski, 2710 Green Oak Court, Highland Village, TX 75077-8661
cr               + Marvette Johnson Gattman, 3259 King George Drive, Orlando, FL 32835-5903
cr               + Mary B. Wenner, 4051 Killion Drive, Dallas, TX 75229-6226
cr               + Mary Hill, 3275 Schlottmann Road, Brenham, TX 77833-7549
cr               + Mattia Cielo, Inc., c/o Barclay Damon LLP, Attn: Robert K. Gross, 1270 Avenue of the Americas, Suite 501 New York, NY 10020-1702
cr               + Microsoft Corporation, c/o David Papiez, Fox Rothschild LLP, 1001 4th Ave, Suite 4500 Seattle, WA 98154-1192
cr                 Nanushka International Zrt., Rakoczi ut 42., V. Floor, Budapest, 1072, HUNGARY
cr               + Nicola Tamburrino, 16415 Amberwood Road, Dallas, TX 75248-2815
cr              #+ Nstar Electric Compa Western Nstar Electric Compan, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway,
                   Ste. 300, Dallas, TX 75205-7326
intp             + Office of Unemployment Compensation Tax Services, c/o Deb Secrest, 651 Boas Street, Room 702, Harrisburg, PA 17121-0751
trnsfor         #+ Onzie, Inc, 42 Brooks Ave, Venice, CA 90291-3226
cr               + Oracle America, Inc., Buchalter, A Professional Corporation, c/o Shawn M. Christianson, 55 2nd St. 17th Fl., San Francisco, CA
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                   94105-3493
cr              #+ Orlando Utilities Commission, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                   75205-7326
cr                 PA Department of Revenue, Bureau of Compliance, PO Box 280946, Harrisburg, PA 17128-0946
cr               + PLDSPE, LLC, c/o Faegre Drinker Biddle & Reath LLP, 1717 Main Street Suite 5400, Dallas, TX 75201-7367
cr               + Pat Morgan-McEvoy, 3817 Stratford Avenue, Dallas, TX 75205-2814
cr               + Peggy L. Trowbridge, 2220 Canton, #408, Dallas, TX 75201-5928
cr               + Photon Interactive Services, Inc., 12300 Ford Road, B#270, c/o Sanjiv Lochan, Dallas, TX 75234-8132
cr               + Prime Chevy Chase Asset I LLC, Attn: Kevin J. Nash, Esq., Goldberg et al LLP, 1501 Broadway, 22nd Floor, New York, NY 10036-5686
cr               + Project 1920 dba Senreve, c/o Joseph Acosta, 300 Crescent Court, Suite 400, Dallas, TX 75201-7847
cr               + RBC 100 LLC D/B/A ROBERTO COIN CENTO COLLECTION, 579 5th Avenue, Floor 17, New York, NY 10017-8760, UNITED
                   STATES 10017-8760
cr               + Rachel A. Goldberg, 3140 Harvard Avenue, #1207, Dallas, TX 75205-3723
cr               + Richard Bowes, 2100 South Ocean Drive, #11F, Fort Lauderdale, FL 33316-3818
cr               + Richard Samuelson, 5927 Prospect Avenue, Dallas, TX 75206-7241
cr               + Richline Group, Inc., c/o Susan C. Mathews, Baker Donelson, 1301 McKinney St., Suite 3700, Houston, TX 77010-3034
cr               + Riverwalk Marketplace (New Orleans) LLC, c/o Howard Marc Spector, Spector & Cox, PLLC, 12770 Coit Road, Suite 1100 Dallas, TX
                   75251-1329
cr               + Robert Browning, c/o Vanguard Law, PO Box 939, Poulsbo, WA 98370, UNITED STATES 98370-0017
cr               + Robert E Ackerman, 4439 Fairfax Avenue, Dallas, TX 75205-3005
cr               + Robert K. Devlin, 5122 Morningside Drive, Apt. 601, Houston, TX 77005-2548
cr               + Roberto Coin Inc., 579 5th Avenue, Floor 17, New York, NY 10017-8760, UNITED STATES 10017-8760
cr               + Robin R. Fradin, P.O. Box 984, Carmel, CA 93921-0984
cr               + Ron Goddard, 5816 Sky Park Drive, Plano, TX 75093-4538
cr               + Rosenthal Sambonet USA Ltd, Contrarian Funds LLC, 500 Ross St 154-0455, Attn: 392426, Pittsburgh, PA 15262-0001
cr               + Rudd C. Johnson, 1815 Crown Avenue, Medford, OR 97504-7617
cr               + Ryan, LLC, c/o Bell Nunnally & Martin LLP, 2323 Ross Avenue, Suite 1900, Dallas, TX 75201-2721
cr              #+ Salt River Project, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX 75205-7326
cr              #+ San Diego Gas and Electric Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas,
                   TX 75205-7326
cr               + Santina Kornajcik, 6944 Santa Barbara Drive, Dallas, TX 75214-2561
cr               + Scott Howard Fradin, P.O. Box 984, Carmel, CA 93921-0984
cr               + Sharen J. Turney, One Bottomley Crescent, New Albany, OH 43054-8965
cr               + Simon Property Group, Inc., Attn: Ronald M. Tucker, Esq., 225 West Washington Street, Indianapolis, IN 46204-3438
cr               + Sonia Chae United States Securities & Exchange Com, 175 W. Jackson Blvd., Suite 1450, Chicago, IL 60604-2710
cr              #+ Southern California Gas Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                   75205-7326
cr               + Spend Management Experts, LLC, c/o VonWin Capital Management, L.P., 261 Fifth Avenue, 22nd Floor, New York, NY 10016-7701
cr               + Stacy J. Staiger, 561 Columbia Drive, Prosper, TX 75078-8765
intp               State of Texas, c/o Texas Attorney General's Office, Bankruptcy & Collections Division, P. O. Box 12548 MC-008, Austin, TX
                   78711-2548
cr               + Steven Kornajcik, 6944 Santa Barbara Drive, Dallas, TX 75214-2561
op               + Stretto, 410 Exchange, Suite 100, Irvine, CA 92602-1331
cr               + Sugarfina Inc, Contrarian Funds LLC, 500 Ross St. 154-0455, Pittsburgh, PA 15262-0001
cr               + Sysco Corporation, c/o Stromberg Stock, PLLC, 8350 N Central Expy, Ste 1225, Dallas, TX 75206-1600
cr               + TOCKR LLC, 809 Avenue J, Marble Falls, TX 78654-5161
cr               + TR Pinnacle Corp, c/o Brian Smith, Holland & Knight LLP, 200 Crescent Court, Suite 1600, Dallas, TX 75201-1829
cr               + Tarrant County, Linebarger, Goggan, Blair & Sampson, LLP, c/o Elizabeth Weller, 2777 N. Stemmons Frwy Ste 1000, Dallas, TX 75207
                   UNITED STATES 75207-2328
cr               + Taubman Landlords, The Taubman Landlords, c/o Andrew S. Conway, Esq., 200 East Long Lake Road, Suite 300 Bloomfield Hills, MI
                   48304-2324
cr               + Terri Anne Monsour, 5651 Benevento Court, Las Vegas, NV 89141-3978
cr                 Texas Comptroller of Public Accounts, Courtney J. Hull, P.O. Box 12548, Austin, TX 78711-2548
intp               Texas Comptroller of Public Accounts, Unclaimed Pr, c/o Attorney General's Office, Bankruptcy & Collections Division, P. O. Box 12548
                   MC-008, Austin, TX 78711-2548
intp             + The Disinterested Manager of Mariposa Intermediate, 575 Madison Avenue, New York, NY 10022, UNITED STATES 10022-2511
cr              #+ The Potomac Electric Power Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas,
                   TX 75205-7326
cr               + The Shops At The Bravem LLC, Attn: Kevin J. Nash, Esq., Goldberg et al LLP, 1501 Broadway, 22nd Floor, New York, NY 10036-5686
cr               + Thomas P. Stangle, 5917 Kensington Drive, Plano, TX 75093-4796
cr               + Thomas P. Wensinger, 111 Oak Glen, San Antonio, TX 78209-2332
cr               + Tom Lind, 300 Summit Loop, Wimberley, TX 78676-5745
cr               + Tracy A. Bradford, 511 Stonebury Drive, Southlake, TX 76092-6917
cr               + Travis County, c/o Jason A. Starks, P.O. Box 1748, Austin, TX 78767-1748
trnsfor          + Trish McEvoy LTD, c/o Contrarian Funds LLC, Attn: 392426, 500 Ross St 154-0455, Pittsburgh, PA 15262-0001
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cr                     + Virginia Ann Richardson, 1976 Cerros Colorados, Santa Fe, NM 87501-8334
cr                    #+ Virginia Electric and Power Company d/b/a Dominion, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway,
                         Ste. 300, Dallas, TX 75205-7326
cr                     + Wayne Allen Hussey, 3840 Pawnee Pass North, Lakeway, TX 78738-1622
cr                     + William Baum, 720 Hawks Ridge Drive, Ball Ground, GA 30107-6438
cr                     + William R. Terry, Jr., 2221 Scarlet Rose Drive, Las Vegas, NV 89134-5905
cr                     + Wolff Shoe MFG Co., c/o VonWin Capital Management, LP, 261 Fifth Avenue, 22nd Floor, New York, NY 10016-7701
intp                   + Womble Bond Dickinson (US) LLP, 1313 N. Market Street, Ste. 1200, Wilmington, DE 19801-6103

TOTAL: 216

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Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/Text: bankruptcy@abernathy-law.com
                                                                                        Jul 06 2021 21:09:00      COLLIN COUNTY TAX
                                                                                                                  ASSESSOR/COLLECTOR, Abernathy, Roeder,
                                                                                                                  Boyd & Hullett, P.C., 1700 Redbud Blvd., Suite
                                                                                                                  300, McKinney, TX 75069-3276
cr                        Email/Text: houston_bankruptcy@LGBS.com
                                                                                        Jul 06 2021 21:09:00      Fort Bend County, Linebarger Goggan Blair &
                                                                                                                  Sampson LLP, C/O John P. Dillman, P.O. Box
                                                                                                                  3064, Houston, TX 77253-3064
cr                     + Email/Text: arapoport@haincapital.com
                                                                                        Jul 06 2021 21:09:00      Hain Capital Group, 301 Route 17 North, 7th
                                                                                                                  Floor, Rutherford, NJ 07070-2575
cr                        Email/Text: houston_bankruptcy@LGBS.com
                                                                                        Jul 06 2021 21:09:00      Harris County, Linebarger Goggan Blair &
                                                                                                                  Sampson LLP, C/O John P. Dillman, PO Box
                                                                                                                  3064, Houston, TX 77253-3064
cr                        Email/Text: wendy.montoya@miamidade.gov
                                                                                        Jul 06 2021 21:09:00      Miami-Dade County Tax Collector, Peter K. Cam,
                                                                                                                  Tax Collector, 200 NW 2ND Avenue, #430,
                                                                                                                  Miami, FL

TOTAL: 5


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
aty                            Selendy & Gay PLLC
tr                             Liquidating Trustee, Mohsin Meghji
tr                             Mohsin Meghji
cr                             1125 Globe Avenue LLC
cr                             18 Karat Appraisers InC
cr                             210 Muni, LLC
cr                             5th Avenue Salon LLC
cr                             737 North Michigan Avenue Retail Investors LLC
cr                             ACREG 5300 Wisconsin LLC
intp                           Ad Hoc Secured Noteholders Committee
cr                             Administrative Expense Creditors
intp                           Akin Gump Strauss Hauer & Feld LLP
cr                             Akris, Inc. and Akris Pret-a-Porter AG
cr                             Alejandra Gonzalez
cr                             Allen Williams
intp                           Alter Domus Products Corp.
cr                             Amazon Web Services, Inc.
cr                             Amazon.com, Inc.
cr                             Ankura Trust Company, LLC
intp                           Annaly CRE LLC
cr                             Annette Colarusso
intp                           Ares Management, L.P.
intp                           Arzz International Inc.
cr                             Bal Harbour Shops, LLC
cr                             Barracuda Networks Inc.
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cr                        Barry Meyrowitz, Inc.
cr                        Beth Larson
intp                      Bicoastal Retail Ventures LLC
cr                        Boward County, Florida
intp                      Brigade Capital Management LP
cr                        Brookfield Properties Retail, Inc.
cr                        Brookfield Property REIT, Inc.
intp                      Brown Rudnick LLP, Seven Times Square, New York
cr                        Burberry Limited
intp                      CPP Investment Board USRE, Inc.
intp                      Calgary Albert Canada
cr                        Camilla Galluzzo
cr                        Capital One, N.A.
cr                        Carolina Herrera LTD
cr                        Carrollton-Farmers Branch ISD,, City of Garland, Garland ISD,
cr                        Champion Energy Services, LLC
cr                        Chanel, Inc.
cr                        Charlotte Tibury Beauty, Inc
cr                        Clay Johnson
cr                        Cloudiyan, LLC
cr                        Cognizant Technology Solutions U.S. Corporation
cr                        Congressional Plaza Associates, LLC
cr                        Costis/Panjo Trading LLC
cr                        Coty Inc.
cr                        Credit Suisse AG, Cayman Islands Branch
cr                        Criteo Corp.
cr                        Crown Color US LLC
cr                        DG Premium Brands LLC
cr                        Dalpark Partners Ltd.
intp                      Daniel B Kamensky
cr                        Daniel Kamensky
cr                        David Gonzalez
cr                        David Yurman Enterprises LLC
cr                        Davidor, LLC
cr                        Delta Galil USA, Inc.
cr                        Determine, LLC
cr                        Deutsche Bank AG New York Branch
op                        Disinterested Manager of Neiman Marcus Group LTD L
cr                        Donna D. Denise
cr                        ELJM Consulting LLC
cr                        ERY Realty Podium, LLC
intp                      Edward Weisfelner, Brown Rudnick LLP, Seven Times Square, New York
cr                        Emsaru Jewels Corp.
cr                        Estee Lauder Companies
intp                      Etro USA, Inc.
cr                        Excel Elevator and Escalator Corporation
cr                        Faith Ann Kiely Inc
cr                        Federal Realty Investment Trust
cr                        Ferragamo USA Inc.
cr                        Fibernet Direct Texas LLC N/K/A Crown Castle Fiber
cr                        Franck Mueller USA Inc
cr                        Franck Muller USA, Inc.
cr                        Furla (U.S.A.), Inc.
cr                        G&C Stewart Corporation
cr                        Giorgio Armani Corporation
cr                        Google LLC
cr                        Gorski Group, Ltd.
cr                        Graphic Packaging International, LLC
cr                        Hanro, USA , Ltd.
cr                        Heron Preston
cr                        Hitachi Vantara LLC
intp                      Hitachi Vantara LLC
intp                      Independent Managers of Neiman Marcus Group LTD LL
                 Case 20-33948 Document                      Filed in TXSB on 07/08/21 Page 18 of 20
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cr                        Infosys Limited
intp                      Interested Party
cr                        International Fidelity Insurance Company
cr                        J. Choo Limited
cr                        JM-BMM LLC
cr                        James Mabry
cr                        Jefferies Leveraged Credit Products, LLC
cr                        Jessica B. Weiland
cr                        Jo Marie Lilly
cr                        Jones Lang LaSalle Americas, Inc.
cr                        Karen Katz
cr                        Kering Americas, Inc. and affiliated brands
cr                        Kering Americas, Inc. and affiliated brands, LVMH
cr                        Kering Americas, Inc. and each of its affiliated b
cr                        Kering Americas, Inc. and its affiliated brands an
cr                        Keystone-Florida Property Holding Corp.
cr                        Kristine Viscovich
cr                        LVMH Moet Hennessy Louis Vuitton Inc. and certain
cr                        Lagos, Inc.
cr                        Lana Unlimited, Co.
cr                        Larry Skinner
crcm                      Liberty Mutual Insuarnce Company
cr                        Lieselotte Mesher, Stewart Mesher
cr                        Lombardi S.R.L.
cr                        Lorraine E. Schwartz, Inc.
cr                        Louis Vuitton USA Inc.
cr                        MRC Luxembourg S.A.R.L.
cr                        Maceoo, LLC
intp                      Manolo Blahnik Americas LLC
cr                        Marble Ridge Capital LP
cr                        Marble Ridge Capital LP and Marble Ridge Master Fu
cr                        Marco Bicego USA, Inc.
cr                        Margo Morrison Jewelry Design, Inc.
cr                        Margot McKinney Jewellery
cr                        Martha Perez, c/o Hodge Law Firm, PLLC, 2211 Strand St., Suite 302, Galveston
op                        Matrix Absence Management, Inc., Reliance Standard
cr                        Mericle 325 Research Drive LLC
cr                        Michael Kors (USA) Inc.
cr                        Michael Occhiogrosso
cr                        Moncler USA, Inc.
cr                        Mudrick Capital Management, L.P.
cr                        Nakamol Design LLC
intp                      Neiman Marcus Group, Inc.
cr                        Neva Hall
cr                        New York-New Jersey Regional Joint Board
cr                        Nina Ricci USA, Inc
cr                        NorthPark Partners, LP
cr                        Off White Operating SRL
cr                        Otis Elevator Company
cr                        Paco Rabanne, SAS
intp                      Paris Inman-Clark
cr                        Park Place Technologies, LLC
cr                        Pasquale Bruni (USA), Ltd., c/o Susan C. Mathews, Baker Donelson
intp                      Paul Hastings LLP
cr                        PayPal Inc
cr                        Peacock Alley, Inc
cr                        Pension Benefit Guaranty Corporation
cr                        Picchiotti S.R.L.
cr                        Pitney Bowes, Inc.
cr                        Premier Brands Group Holding LLC
cr                        Preston Shephard Retail LP
cr                        Puig USA, Inc
cr                        RTB House Inc
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cr                               Ralph Lauren Corporation
cr                               RetailMeNot, Inc
cr                               Richemont North America, Inc. and affiliated brand
cr                               Robert Archer
cr                               SAS Institute Inc.
cr                               Saboo Fine Jewels
cr                               San Marcos CISD
cr                               ShopperTrak RCT Corporation, a division of Johnson
cr                               Sobe Luxury Services LLC d/b/a Gismondi 1754 S.P.A
cr                               Solow Building Company III LLC
cr                               Spinelli Kilcollin, Inc.
cr                               Sunbeam Development Corporation
cr                               Susan Archer
cr                               Sydney Evan
cr                               THREE GALLERIA OFFICE BUILDINGS, LLC
cr                               TPG Specialty Lending, Inc.
intp                             TR Capital Management LLC, US
cr                               Tamara Comolli Fine Jewelry Limited Inc
cr                               Tata Consultancy Services Limited
intp                             Tayler Bayer
cr                               Teresa Gradidge
cr                               The Apparel Group, Ltd.
cr                               The Boston Consulting Group
cr                               The Irvine Company LLC
cr                               The Macerich Company
crcm                             The Official Committee of Unsecured Creditors
cr                               The Shops at the Bravern LLC
cr                               The Taubman Company LLC
cr                               Tiffany Tran
cr                               Tom Ford International, LLC and Tom Ford Distribut
cr                               Tory Burch LLC
cr                               UMB Bank, N. A
cr                               Unibail Rodamco Westfield
cr                               United States of America
cr                               Venice SRL
cr                               Verdeveleno, S.L.
cr                               Versace USA, Inc.
cr                               WILMINGTON SAVINGS FUND SOCIETY, FSB
cr                               WVF-Paramount 745 Property, L.P.
intp                             Wendy Yue LLC
cr                               Westwood Contractors, Inc.
cr                               Wilmington Trust, National Association, as Indentu
cr                               Wilson 151 Worth LLC
cr                               Wilson 151 Worth, LLC
cr                               Windsor Jewelers Inc.
cr                               Y. Hats & Co
cr                               Yeprem Jewelry, SARL
db              *+               The Neiman Marcus Group LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
trnsfee         *+               Contrarian Funds, LLC, 411 West Putnam Avenue, Ste. 225, Greenwich, CT 06830-6261
aty             ##+              Nathan F Coco, McDermott Will & Emery LLP, 1000 Louisiana Street, Suite 3900, Houston, TX 77002-5035

TOTAL: 198 Undeliverable, 2 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
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the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 08, 2021                            Signature:      /s/Joseph Speetjens
